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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA,                            Case No. 21-cr-20749

             Plaintiff,
v.
ADRIAN ALE CHAVARRIA,

             Defendant.

                  SECOND SUPERSEDING INFORMATION



THE UNITED STATES ATTORNEY CHARGES:


                                  COUNT ONE
                18 U.S.C. § 922(j); Possession of a Stolen Firearm

      On or about March 23, 2020, in the Eastern District of Michigan, ADRIAN

ALE CHAVARRIA, possessed a stolen firearm, which had been transported in

interstate commerce, that is a Smith & Wesson, model 669, 9mm Luger caliber,

semiautomatic pistol, and ADRIAN ALE CHAVARRIA then knew or had

reasonable cause to believe the firearm was stolen, all in violation of Title 18,

United States Code Section 922(j).
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                        FORFEITURE ALLEGATION
                       18 U.S.C. §924(d); 28 U.S.C. §2461

      The allegations contained in Count One of this Information are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture pursuant

to 18 U.S.C. §924(d)(1) and 28 U.S.C. §2461. Upon conviction of the offense

charged in Count One of this Information, ADRIAN ALE CHAVARRIA shall

forfeit to the United States, any firearm and ammunition involved in or used in any

knowing violation of 18 U.S.C. § 922 including but not limited to a Smith &

Wesson, model 669, 9mm Luger caliber, semiautomatic pistol, serial number

TAJ2412, one high-capacity magazine and 25 rounds of 9 millimeter ammunition.

Dated: January 13, 2023

DAWN N. ISON
Acting United States Attorney


___________________________                  ____________________________
NANCY A. ABRAHAM                             ANTHONY P. VANCE
Assistant United States Attorney             Assistant United States Attorney
2nd Floor Federal Building                   Chief, Branch Offices
600 Church Street
Flint, MI 48502
(810) 766-5177
                    Case 4:21-cr-20749-SDK-CI ECF No. 31, PageID.84 Filed 01/13/23 Page 3 of 3

    Companion Case information MUST be completed by ALISA and initialed
       United States District Court                                  Criminal Case Cover Sheet Case Number
       Eastern District of Michigan
                                                                                                21-cr-20749
    NOTE: It is the responsibility of the Assistant U.S. Attorney s igning this form to complete it accurately in all respects.




IComoanion Case Information                                                                               Companion Case Number:

     This may be a compan ion case based upon LCrR 57.10 (b)(4) 1 :                                       Judge Assigned:

                  □ Yes                              XNo                                                  AUSA's Initials: NAA


             Case Title: USA v. ADRIAN ALE CHAVARRIA

             County where offense occurred: _;G_e_n_e_s_e_e_C.:....o.:....u.:....n_t:.,t..y______________

             Check One:               X Felony                □    Misdemeanor                      D Petty

                                lndictment/_ _ _ lnformation --- no prior complaint.
                                 Indictment/      Information --- based upon prior complaint [Case number:]
                                 Indictment/      Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: 21-cr-20749                                                           Judge:           Kumar

             □          Corrects errors; no additional charges or defendants.
             _g         Involves, for plea purposes, different charges or adds counts.
             D          Embraces same subject matter but adds the additional defendants or charges below:

                        Defendant name                                          Charges             Prior Complaint (if applicable)
                                                            18 U.S.C. § 922G); Possession of a Stolen Firearm


Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

                                                                                    s/Nancy A. Abraham
Date: January 13, 2023                                                               Nancy A. Abraham
                                                                                    Assistant United States Attorney
                                                                                    600 Church Street
                                                                                    Flint, Ml 48502
                                                                                    Phone: 810-766-5034
                                                                                    E-Mail address: nancy.abraham@usdoj.gov
                                                                                    Attorney Bar#: P-42060

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 Compa nion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, (2) the same or related parties are present, and the cases arise out of the
same transaction or occurrence. Cases may be com panion cases even thoug h one of them may have already been terminated.
